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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

OVERWELL HARVEST LIMITED,                            )
a British Virgin Islands company,                    )
individually and derivatively on behalf of           )
NEURENSIC, INC.,                                     )
                                                     )      Civil Action No. 1:17-cv-06086
       Plaintiff,                                    )
                                                     )      Hon. Sara L. Ellis
                      v.                             )
                                                     )
DAVID WIDERHORN, PAUL GIEDRAITIS,                    )
and TRADING TECHNOLOGIES                             )
INTERNATIONAL, INC.,                                 )
                                                     )
       Defendants.                                   )

    DEFENDANT PAUL GIEDRAITIS’ RULE 12(b)(1) MOTION TO DISMISS
   PLAINTIFFS’ ACTION FOR WANT OF SUBJECT MATTER JURISDICTION

       Defendant, PAUL GIEDRAITIS (“Giedraitis” or “Defendant”), an Illinois citizen, by

and through his attorneys, PERL & GOODSNYDER, LTD., respectfully moves this Honorable

Court pursuant to Federal Rule of Civil Procedure 12(b)(1) to dismiss the Amended Complaint

(“Complaint”) filed by the Plaintiff, OVERWELL HARVEST LIMITED, a British Virgin

Islands company (”OHL” or “Plaintiffs”) individually and derivatively on behalf of

NEURENSIC, INC., a Delaware corporation with its principal place of business in Illinois

(“Neurensic”), for want of subject matter jurisdiction pursuant to Rules 8 and 12(b)(1) of the

Federal Rules of Civil Procedure and 28 U.S.C.A. § 1332, as Plaintiffs have not and cannot

establish this Honorable Court has subject matter jurisdiction over the parties or the causes of

action alleged in the Amended Complaint. In support thereof, Giedraitis states as follows:
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I.  THE PROCEDURAL HISTORY AND THE ALLEGATIONS IN OHL’S
AMENDED COMPLAINT DEMONSTRATE THAT THIS HONORABLE COURT
LACKS SUBJECT MATTER JURISDICTION OVER OHL’S ACTION.

       A.      Procedural History of the Case.

       On August 22, 2017, Plaintiff filed its Verified Complaint for Emergency Injunctive

Relief (“Complaint”) initiating this case and seeking a declaratory judgment (Claim No. 1) and a

preliminary and permanent injunctive relief (Claim No. 2), but no monetary damages. (Doc. 1.)

On or about March 13, 2018, Plaintiff filed its redacted Amended Complaint against Widerhorn

and Giedraitis for purported breach of fiduciary duty related to the sale of Neurensic’s assets to

Trading Technologies. (Doc. 42.) At the time the Plaintiff filed its Amended Complaint Giedraitis

was pro se. On April 10, 2018, this Honorable Court granted Giedraitis leave to file an Answer

or to otherwise plead by June 15, 2018. (Doc. 44.) On June 11, 2018, Defendant’s counsels filed

their substitute appearances on behalf of Giedraitis. (Doc. 48-50.) On June 26, 2018, this

Honorable Court granted Defendant’s motion for extension of time to answer or otherwise plead

by July 26, 2018. (Doc. 58.) On June 26, 2018, this Honorable Court granted Plaintiff’s motion

to file its (Second) Amended Complaint adding Trading Technologies International, Inc.

(“Trading Technology”), as an additional defendant herein. (Doc. 58.) On June 29, 2018,

Plaintiff filed its three count (Second) Amended Complaint. (Doc. 61.) On July 25, 2018, this

Honorable Court granted the Defendants until August 24, 2018, to answer or otherwise plead to

the (Second) Amended Complaint. (Doc. 68.) On August 31, 2018, Giedraitis filed his

Memorandum of Law in Support of Defendant’s Rule 12(b)(6) Motion to Dismiss the Amended

Complaint and Rule 12(b)(6) Motion to Dismiss (collectively “Motion to Dismiss”). (Doc. 76

and 77.) On September 5, 2018, this Honorable Court granted Giedraitis’ motion for extension

of time to file his Motion to Dismiss. (Doc. 79.) On October 8, 2018, OHL filed its Response to

Giedraitis’ Motion to Dismiss. (Doc. 85.) On November 9, 2018, Giedraitis filed his Reply in

Support of his Motion to Dismiss. (Doc. 91.)

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          B.     In the January 31, 2019 Opinion and Order this Honorable Court Expressly
                 Found that the Plaintiffs have Sustained No Actual Damages.

          On January 31, 2019, this Honorable Court filed its Opinion and Order (Doc. 93)

(“Opinion”), which ruled on both Defendants’ respective motions to dismiss and supporting

memoranda of law brought pursuant to Rule 12(b)(6) (Doc. 69-70 and 76-77). In its Opinion,

this Honorable Court expressly held that the Plaintiff cannot allege it suffered any actual

damages because at the time of the sale of Neurensic’s assets to Trading Technologies,

Neurensic had approximately $3.5 million in trade debt (Amended Complaint at ¶ 37) (Doc.

61), satisfaction of which would necessarily consume all of the proceeds from an asset sale

before Neurensic’s shareholders, including OHL, could receive any monetary distribution.

(Doc. 93 at 15.) As a result, this Honorable Court found in the Opinion that if OHL were to

ultimately prove that Giedraitis breached his fiduciary duty to OHL in the process of selling

Neurensic’s assets to Trading Technologies in October of 2017, a contention that Giedraitis

adamantly denies, OHL would nonetheless be entitled only to nominal damages, rather than

compensatory damages.

          In its Opinion, this Honorable Court concluded that determined that OHL’s derivative

action against Giedraitis for his purported breach of fiduciary was governed by Delaware

corporate law. (Doc. 93 at P. 10.) The Court went on to distinguished Count II of the Amended

Complaint against Trading Technology, which sought to allege a cause of action against

Trading Technology for purportedly aiding and abetting a breach of fiduciary duty, which under

Delaware law requires actual damages, from Count I of the Amended Complaint against

Giedraitis, which sought to allege a cause of action against Giedraitis for purportedly breaching

his fiduciary duty to OHL, as a Neurensic shareholder, in the process of selling Neurensic’s

assets.



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       In its Opinion, this Honorable Court held inter alia that under Delaware law nominal

damages may be sufficient to plead a cause of action for breach of fiduciary duty. In the

Opinion, the Court held in pertinent part as follows:

               Looking to Giedraitis’ arguments regarding damages, he argues that
               Overwell cannot allege that the sale to Trading Technologies
               damaged it as a shareholder. However, while Illinois law requires
               plaintiffs to prove their damages in order to successfully establish a
               claim for breach of contract, Delaware law contains no such
               requirement. Compare Kagan v. Waldheim Cemetery Co., 53
               N.E.3d 259, 266, 2016 IL App (1st) 131274, 403 Ill. Dec. 205
               (2016), with Beard Research, 8 A. 3d at 601. Giedraitis argues that,
               even under Delaware law plaintiffs must establish damages to
               recover for breach of fiduciary duty, but the cases that he cites stand
               for the opposite. In Basho Technologies Holdco B., LLC v.
               Georgetown Basho Investors, LLC, the court did note that “a
               plaintiff will not be awarded a meaningful remedy without
               additional showings that parallel the other elements of a traditional
               common law tort claim.” No 11802-VCL, 2018 WL 3326693, at
               *24 (Del. Ch. July 6, 2018). But the Basho court goes on to state
               that “[a] court may award nominal damages if a breach existed but
               does not warrant a meaningful remedy.” Id.; see also Ravenswood
               Inv. Co. v. Estate of Winmill, No. 3730-VCS, 2018 WL 1410860, at
               *25 (Del. Ch. March 21, 2018) (finding nominal damages
               appropriate where plaintiff failed to prove damages). In light of this,
               Giedraitis’ damages argument is unpersuasive.

(Doc. 93 at P. 10.)

       However, in the Opinion, the Court went on to hold in pertinent part as follows:

               Trading Technologies also contends that Overwell has not
               sufficiently pleaded that it was damaged as a result of the conduct.
               Here, Overwell pleads itself out Court. Overwell states that
               Neurensic had approximately $3.5 million worth of debt, Doc. 61 ¶
               37, and the only two offers (including one from Overwell itself)
               contained cash components of $400,000, id ¶¶ 64, 67. Trading
               Technologies argues that Overwell’s own complaint establishes that
               it did not suffer any damages, as Neurensic could not have received
               an offer that exceeded its liabilities and so the shareholders would
               not have recovered value. Overwell does not directly respond to this
               argument, merely stating that the breach “deprived [Overwell] of the
               opportunity to competitively bid for Neurensic’s assets, which
               would have resulted in a high offer and thus greater value for



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               Neurensic and its stockholders.” Doc, 81 at 10. But Overwell would
               have had to increase its offer by more than eight times in order to
               derive any value for the shareholders. A complaint must be facially
               plausible to survive a motion to dismiss. See Iqbal, 556 U.S. at 678.
               The Court does not find Overwell’s claim for damages plausible
               here; the numbers simply do not align. And Overwell’s argument
               that there is no heightened pleading standard for damages misses the
               point; in order to succeed on its claim for aiding and abetting breach
               of fiduciary duty, it must allege some damages, It has not plausibly
               done so here, and so the Court grants Trading Technologies’ Motion
               to dismiss.

(Doc. 93 at P. 15.) (Emphasis added.)

II.  FEDERAL COURTS SITTING IN DIVERSITY JURISDICTION LACK
SUBJECT MATTER JURISDICTION UNLESS THE AMOUNT IN CONTRIVERSY
EXCEEDS $75,000.

       In the (Second) Amended Complaint filed on June 29, 2018, OHL alleges that it is a

British Virgin Island company, Defendants Widerhorn and Giedraitis are citizens of Illinois,

while Defendant Trading Technology International, Inc. and derivative Plaintiff Neurensic, Inc.

are both Delaware corporations. (Doc. 61 at ¶¶ 1, 10-13.) Inexplicitly, other than expressly

acknowledging in the Amended Complaint that “Venue is proper in this Court under 28 U.S.C.

§1391 because a substantial part of the events giving rise to the claims occurred in this district”

(Doc. 61 at ¶ 15), OHL makes no reference in the Amended Complaint to the fact that Neurensic

had its principal place of business in Chicago, Illinois. However, OHL then alleges that this

Honorable Court has “original jurisdiction pursuant to 28 U.S.C. § 1332(a) because the amount

in controversy exceeds $75,000.00, exclusive of interest and costs, and is between citizens of

different states.” (Doc. 61 at ¶ 14.)




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        28 U.S.C.A. § 1332 provides in pertinent part as follows:

                (a) The district courts shall have original jurisdiction of all civil
                actions where the matter in controversy exceeds the sum or value of
                $75,000, exclusive of interest and costs, and is between —

                (1) citizens of different States;

                                                        ***

                (b) Except when express provision therefor is otherwise made in a
                statute of the United States, where the plaintiff who files the case
                originally in the Federal courts is finally adjudged to be entitled to
                recover less than the sum or value of $75,000, computed without
                regard to any setoff or counterclaim to which the defendant may be
                adjudged to be entitled, and exclusive of interest and costs, the
                district court may deny costs to the plaintiff and, in addition, may
                impose costs on the plaintiff.

                (c) For the purposes of this section and section 1441 of this title—

                (1) a corporation shall be deemed to be a citizen of every State and
                foreign state by which it has been incorporated and of the State or
                foreign state where it has its principal place of business, * * * *

28 U.S.C.A. § 1332. (Emphasis added.)

        For the reasons that follow, it is clear that the Plaintiff has not and cannot establish that

the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

Id. While the failure to meet this threshold matter in controversy standard alone mandates the

dismissal of the Plaintiffs’ action for lack of subject matter jurisdiction, the absence of complete

diversity provides an independent basis for dismissal. As discussed in greater detail below, as

(1) Neurensic and Trading Technologies are both Delaware corporations, and (2) Neurensic has

its principal place of business in Illinois where Giedraitis is also a citizen of Illinois, there is not

complete diversity of citizenship, as is required by § 1332(c)(1) mandating dismissal of the

action for lack of subject matter jurisdiction. Id.




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       A.      This Honorable Court is Required to Determine Whether the Court Has
               Subject Matter Jurisdiction over the Case.

       “A federal court is obligated to inquire into subject matter jurisdiction sua sponte

whenever it may be lacking.” Univ. of S. Ala. v. Am. Tobacco Co., 168 F. 3d 405, 410 (11th Cir.

1999). Federal courts are courts of limited jurisdiction; therefore, the Court must inquire into

its subject matter jurisdiction, even when a party has not challenged it. Id. See also, Rowell v.

Franconia Minerals Corp., 706 F. Supp.2d 891, 892-3, 896 (N.D. IL 2010) (district court lacked

subject matter jurisdiction over Canadian citizen’s suit against Canadian corporation due to a

lack of complete diversity of citizenship between the parties). Accordingly, pursuant to Federal

Rule of Civil Procedure Rule 12(b)(1), for the reasons set forth herein Giedraitis is challenging

the purported subject matter jurisdiction of this Honorable Court over Plaintiffs’ pending action.

       OHL cites diversity jurisdiction as the basis for filing this case in federal court. (Doc.

61 at ¶ 14.) The case is in federal court exclusive based upon the purported existence of diversity

jurisdiction. However, despite the Plaintiffs’ conclusory allegations, this Honorable Court lacks

subject matter jurisdiction over parties or the case. As a preliminary analysis, based upon this

Honorable Court’s findings in the Opinion (Doc. 93), discussed in greater detail above, the

Plaintiffs are unable to even allege to have suffered actual damages. As such, the Plaintiffs are

unable to establish the amount in controversy exceeds the threshold jurisdictional minimum of

$75,000.00 as expressly required by § 1332(a). If at any time this Honorable Court determines

that it lacks subject matter jurisdiction over the case, the Court must to dismiss the case. Fed.

R. Civ. P. 12(b)(1). For the reasons that follow, this Honorable Court should dismiss this case

for want of subject matter jurisdiction.




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       B.      Plaintiffs Bear the Burden of Proving the Facts Necessary to Establish that
               this Honorable Court has Proper Subject Matter Jurisdiction Over this
               Case.

       OHL chose to file the case at bar in federal court. Giedraitis challenges whether this

Honorable Court has subject matter jurisdiction over the case where (1) there is no federal

question at issue, (2) where there is not complete diversity between the Plaintiffs and the

Defendants, and (3) where the amount in controversy does not exceed $75,000. When the

plaintiff files in federal court, the plaintiff has the burden of showing that the federal court has

jurisdiction over its claim. Meridian Sec. Ins. Co. v. Sadowski, 441 F. 3d 536 (7th Circ. 2006).

“A proponent of federal jurisdiction must, if material factual allegations [relating to the amount

in controversy] are contested, prove those jurisdictional facts by a preponderance of the

evidence.” Id. at 543. OHL cannot meet this burden of proof because it can do no more than

“simply point to the theoretical possibility of recovery for certain categories of damages.”

McMillian v. Sheraton Chi. Hotel & Towers, 567 F.3d 839, 845 (7th Cir.2009) (circuit court

found the district court lacked subject matter jurisdiction over suit filed by plaintiffs in federal

court for personal injuries sustained in an elevator accident for failure to meet their burden of

proof to establish threshold amount in controversy to invoke court’s diversity jurisdiction .)

       A case should be dismissed for want of subject matter jurisdiction where the plaintiff

fails to support its alleged damages with specific facts or evidence that plausibly entitles the

plaintiff to relief. Scott v. Bender, 948 F. Supp. 2d 859, 866 (N.D. IL 2013). “To satisfy the

amount in controversy requirement, the plaintiff ‘must come forward with competent proof that

[he has] satisfied the jurisdictional threshold and not simply point to the theoretical possibility

of recovery for certain categories of damages.’” (Internal citation omitted.) Davis v. LeClair

Ryan, P.C., 363 Fed. Appx. 395, 396-7 (7th Cir. 2010) (circuit court affirmed district court’s

dismissal for want of subject matter jurisdiction of suit filed by plaintiff in federal court for


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legal malpractice, breach of fiduciary duty, breach of contract and intentional infliction of

emotional distress invoking diversity jurisdiction.) Therefore, for the reasons that follow, the

case at bar should be dismissed for want of subject matter jurisdiction as the case does not meet

the requirements of diversity jurisdiction.

       C.        OHL’s Potential Recovery Against Giedraitis is Limited to Nominal
                 Damages and Therefore OHL Cannot Meet the $75,000 Matter in
                 Controversy Requirement for Diversity Jurisdiction.

       As this Honorable Court has previously found that OHL has not suffered any actual

damages from the sale of Neurensic’s assets to Trading Technologies (Doc. 93 at P. 15), the

only potential damages, if any, that Plaintiff may be entitled to are nominal damages. Therefore,

even assuming arguendo that Giedraitis could ultimately be found liable for nominal damages,

OHL nonetheless fails to meet the threshold requirement of in excess of $75,000 in controversy

required in order to satisfy federal court diversity jurisdiction pursuant to §1332 of the . As a

result, the case at bar must be dismissed for lack of subject matter jurisdiction to proceed in

federal court.

       Under Delaware law, nominal damages are not considered the compensatory damages

suffered by the party, but rather “merely in recognition of a technical injury and by way of

declaring the rights of the plaintiff: nominal damages are usually assessed in a trivial amount,

selected simply for the purpose of declaring an infraction of the plaintiff’s rights and the

commission of a wrong.” Enzo Life Sciences, Inc. v. Adipogen Corporation, 82 F. Supp. 3d 568

(2015) (emphasis added). There are instances in which loss is caused but recovery for that loss

is precluded because it cannot be proved with reasonable certainty. In these instances the

purportedly injured party may nevertheless obtain a judgment for nominal damages, a small

sum usually fixed by judicial practice in the jurisdiction in which the action is brought. Ivize of




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Milwaukee, LLC v. Compex Litig. Support, LLC, No. 3158, 2009 WF 11111179, at *12 (Del.

Ch. Apr. 27, 2009).

       Delaware courts have held that, “even if compensatory damages cannot be or have not

been demonstrated, the breach of a contractual obligation often warrants an award of nominal

damages.” Enzo Life Sciences, Inc. v. Adipogen Corporation, 82 F. Supp. 3d 568 (2015) citing

Ivize of Milwaukee, LLC v. Compex Litig. Support, LLC, No. 3158, 2009 WF 11111179, at *12

(Del. Ch. Apr. 27, 2009). While Delaware courts have under appropriate circumstances

permitted an award of nominal damages in the absence of actual damages, the amount of

nominal damages are not to be excessive. Accordingly, nominal damages are not given as an

equivalent for the wrong, but rather merely in recognition of a technical injury and by way of

declaring the rights of the plaintiff. Ivize of Milwaukee, Ltd. Liab. Co. v. Compex Litig. Support,

Ltd. Liab. Co., Nos. 3158-VCL, 3406-VCL, 2009 Del. Ch. LEXIS 55, at *1 (Ch. Apr. 27, 2009).

“Nominal damages are usually assessed in a trivial amount, selected simply for the purpose of

declaring an infraction of the plaintiff's rights and the commission of a wrong.” Id.

       In Enzo Life Sciences, Inc, the plaintiff was not able to establish that it suffered any

damages as a result of the breach. The court therefore granted nominal damages in the amount

of one dollar against two of the defendants, and ten dollars against the third defendant, Dr.

Chappuis. The Court indicated that it granted the relatively greater amount of $10 against Dr.

Chappuis because he had played a more dominate role in all the activities at issues in the case

relative to the other two individuals. However, even after conducting this assessment of relative

culpability, the court in Enzo Life Sciences still only granted a total of ten dollars in nominal

damages.




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       Likewise, in Standard Distributing Company, the plaintiff brought a claim for breach of

contract. Standard Distrib. Co. v. NKS Distribs., C.A. No. 92C-05-036-WTQ, 1996 Del. Super.

LEXIS 125, (Super. Ct. Jan. 3, 1996). The court in Standard Distributing Company awarded

the plaintiff nominal damages in the amount of one dollar. Id. at 34-35. Both the rationale of

the courts in Enzo Life Sciences and Standard Distributing Company, demonstrate that under

Delaware law the concept of nominal damages consists of a small dollar value. Similarly, in

the case at bar, should this Honorable Court find that an award of nominal damages against

Giedraitis based upon his relative culpability are appropriate, any such award would by

definition have to be in a nominal amount, such as $1, $10, $100 or even $1,000, and should

not be in an excessive amount approaching any substantial sum. As such, under no

circumstances could an award of nominal damages properly exceed the $75,000.00 amount in

controversy set forth in § 1332.1      Accordingly, as OHL has not and cannot satisfy the

jurisdictional threshold requirements for this Honorable Court to exercise subject matter

jurisdiction, the case should be dismissed for lack of subject matter jurisdiction.




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   Even assuming arguendo that the Plaintiffs were ultimately to be awarded punitive damages,
the ratio between nominal and punitive damages cannot be excessive, which is what would have
to be required in order for the total sum of nominal damages and punitive damages to reach the
threshold amount in controversy in excess of $75,000. Anthony v. Security Pacific Financial
Services, Inc., 75 F.3d 311, 317 (7th Cir. 1996) (a large multiplier of punitive damages that are
17.35 times compensatory damages would be excessive and cannot be used to satisfy the
amount in controversy requirement for diversity jurisdiction.)


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       D.      OHL Cannot Rely Upon Its Unsubstantiated Claim for Attorney’s Fees to
               Satisfy the $75,000 Threshold for Diversity Jurisdiction.

       Plaintiff’s sole cause of action against Giedraitis is for a purported breach of fiduciary

duty as alleged in Count I of the Amended Complaint. In the “wherefore” clause of Count I of

the Amended Complaint (Doc. 61 at Page 24), Plaintiff, without a valid legal basis, seeks to

recover its “attorney’s fees relating to this action” from Giedraitis. However, the Plaintiff cites

no statutory basis for seeking to recover its attorney’s fees incurred in this litigation from

Giedraitis. Likewise, the Plaintiff fails to cite any contractual provision purportedly affording

the Plaintiff a valid legal basis to recover its litigation-related attorney’s fees from Giedraitis.

Delaware follows the American Rule, wherein each party is ordinarily responsible for its own

litigation expenses. Blue Hen Mech., Inc. v. Christian Bros. Risk Pooling Tr., 117 A.3d 549,

559 n.45 (Del. 2015).

       Therefore, without a valid basis for shifting OHL’s attorney’s fees to Giedraitis, it would

be improper for this Honorable Court to include OHL’s attorney’s fees in determining whether

or not OHL or has met its burden of proof that the total amount in controversy exceeds the

$75,000.01 jurisdictional minimum for diversity jurisdiction as required by §1332(a). “The

proponent of diversity jurisdiction has the burden of proving that the amount in controversy

exceeds the jurisdictional minimum. Advance Am. Servicing of Ark., Inc. v. McGinnis, 526 F.3d

1170, 1173 (8th Cir.2008). Accordingly, this Honorable Court should dismiss OHL’s pending

action for lack of want of subject matter jurisdiction in this diversity action.




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III. FEDERAL COURTS SITTING IN DIVERSITY JURISDICTION LACK
SUBJECT MATTER JURISDICTION UNLESS THERE IS COMPLETE DIVERSITY
OF CITIZENSHIP BETWEEN THE PLAINTIFFS AND THE DEFENDANTS.


       28 U.S.C.A. § 1332 provides in pertinent part as follows:

               (a) The district courts shall have original jurisdiction of all civil
               actions where the matter in controversy exceeds the sum or value of
               $75,000, exclusive of interest and costs, and is between —

               (1) citizens of different States; * * *

               (c) For the purposes of this section and section 1441 of this title—

               (1) a corporation shall be deemed to be a citizen of every State and
               foreign state by which it has been incorporated and of the State or
               foreign state where it has its principal place of business, except that
               in any direct action against the insurer of a policy or contract of
               liability insurance, whether incorporated or unincorporated, to
               which action the insured is not joined as a party-defendant, such
               insurer shall be deemed a citizen of — * * * *

28 U.S.C.A. § 1332. (Emphasis added.)

       “Diversity jurisdiction requires ‘complete diversity.’ Which in turn requires that ‘no

plaintiff be a citizen of the same state as any defendant’ (Internal citations omitted.) A

corporation is a citizen of the state in which it was incorporated as well as the state where it has

its principal place of business. See § 1332(c)(1).” Gardner ex rel Booth v. Inglis House Corp.,

332 F. Aupp.3d 644, 646 (E.D. PA 2018) (district court dismissed plaintiff’s action brought on

behalf of disabled adult sibling against Inglis House Corporation, the nursing home corporation

named as a defendant which had its principal place of business in Pennsylvania, as by Booth

and the nursing home were both citizens of Pennsylvania defeating diversity jurisdiction).

       Plaintiff, Neurensic, Inc., and Defendant, Trading Technologies International, Inc. are

both Delaware corporations. The Plaintiffs’ action was brought as a derivative action pursuant

to Federal Rule of Civil Procedure 23.1 “for the benefit of its stockholders.” (Doc. 61 at ¶¶ 71-



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75.) In addition to being named as a Plaintiff, under Delaware law a stockholder’s derivative

action against corporate officers for purported breach of fiduciary duty “does not belong to the

stockholder; it belongs to the corporation.” Lynam v. Livingston, 257 F. Supp. 520 (D. Del.

1966). See also, Midland Food Services, LLC v. Castle Hill Holdings V, LLC, 792 A. 2d 920,

931 (DE 1999). “Because a derivative suit is being brought on behalf of the corporation, any

recovery must go to the corporation.” Americas Mining Corp. v. Theriault, 51 A. 3d 1213, 1264

(S. Ct. DE 2012).

       Similarly, Plaintiff, Neurensic, Inc., with its principal place of business being located at

“141 W. Jackson Blvd., Chicago, Illinois”2 and Defendant, Giedraitis, are both citizens of

Illinois. (Doc. 61 at ¶ 12.) As one of the Plaintiffs and at least one of the Defendants are citizens

of the same state, there is a lack of complete diversity, thereby defeat diversity jurisdiction

pursuant to § 1332. Accordingly, this Honorable Court is required to dismiss Plaintiffs’ action

due to a lack of subject matter jurisdiction.




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  Attached as Exhibits A and B to Plaintiff’s Motion to Temporary Restraining Order (Doc. 7
and 7-1 (Exhibits) at Pages 2-7) are emails sent by David Widerhorn, Chief Executive Officer
of Neurensic, Inc., wherein Widerhorn lists as return address of Neurensic as 141 W. Jackson
Blvd., Suite 1755, Chicago, Illinois.” Additionally, in the Form D “Notice of Exempt
Offering of Securities” filed with the United States Securities and Exchange Commission
(“SEC”) on or about March 7, 2017, by CIK (Filer ID Number: 0001645819), the “Principal
Pace of Business and Contact Information” for Issuer “Neurensic, Inc.” is listed as “141 W.
Jackson Blvd., Suite 1755, Chicago, Illinois 60604. A duplicate of this filing is attached
hereto as Exhibit 1, and can be found on the SEC’s website at the SEC’s website as document:
https://www.sec.gov/Archives/edgar/data/1645819/000164581916000005/xslFormDX01/prim
ary_doc.xml
In ruling on a Motion to Dismiss, this Honorable Court can take judicial notice of matters of
public record, including SEC filings. Drieling v. American Express Co., 458 F. 3d 942 (9th Cir.
2006). “Courts can consider security offerings and corporate disclosure documents that are
publicly available.” (Internal citation omitted.) ScripsAmerica, Inc. v. Ironridge Global LLC,
119 F. Supp. 3d 1213, 1230-1 (C.D. CA 2015).


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IV.    CONCLUSION

       For the reasons discussed above, the Plaintiffs have not and cannot meet either the

jurisdictional minimum amount in controversy of $75,000.01 or the complete diversity of

citizenship required. Therefore, this Honorable Court should dismiss Plaintiffs’ action for lack

of subject matter jurisdiction.

       WHEREFORE, Defendant, PAUL GIEDRAITIS (“Giedraitis” or “Defendant”), an

Illinois citizen, by and through his attorneys, PERL & GOODSNYDER, LTD., respectfully

moves this Honorable Court pursuant to Federal Rule of Civil Procedure 12(b)(1) to dismiss the

Amended Complaint (“Complaint”) filed by the Plaintiff, OVERWELL HARVEST

LIMITED, a British Virgin Islands company (”OHL” or “Plaintiffs”), individually and

derivatively on behalf of NEURENSIC, INC., a Delaware corporation with its principal place

of business in Illinois (“Neurensic”), for want of subject matter jurisdiction pursuant to Rules 8

and 12(b)(1) of the Federal Rules of Civil Procedure and 28 U.S.C.A. § 1332, extend the time

for Giedraitis to respond to the Plaintiffs’ Amended Complaint until this motion is resolved,

and grant Giedraitis such further relief this as this Honorable Court deems fair, just and

equitable.

                                                 Respectfully     Submitted    on    Behalf    of
                                                 Defendant:

                                                 PAUL GIEDRAITIS,

                                                 By and through his attorneys,

PERL & GOODSNYDER, LTD.                          PERL & GOODSNYDER, LTD.
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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on the date shown below he caused the

foregoing document to be electronically filed with the Clerk for the U.S. District Court for the

Northern District of Illinois, which will send a notification and a copy of the document to all

counsel of record.


Dated: February 19, 2019

                                                /s/ Christopher M. Goodsnyder
                                                Mr. Christopher M. Goodsnyder

                                                Attorneys for Defendant: Paul Giedraitis




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